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COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 






AARON TREVINO,	APPELLANT,


v.



THE STATE OF TEXAS,	APPELLEE.





On Appeal from the 117th District Court 


of Nueces County, Texas.






MEMORANDUM OPINION


	

Before Justices Yañez and Benavides and Vela


Memorandum Opinion Per Curiam


	Appellant, Aaron Trevino, attempts to appeal a conviction for aggravated robbery. 
The trial court has certified that "the defendant has waived the right of appeal."  See Tex.
R. App. P. 25.2(a)(2).

	On September 29, 2009, this Court notified appellant's counsel of the trial court's
certification and ordered counsel to: (1) review the record; (2) determine whether appellant
has a right to appeal; and (3) forward to this Court, by letter, counsel's findings as to
whether appellant has a right to appeal, or, alternatively, advise this Court as to the
existence of any amended certification.

	On October 27, 2009, counsel filed a letter brief with this Court.  Counsel's response
does not establish:  (1) that the certification currently on file with this Court is incorrect, or
(2) that appellant otherwise has a right to appeal.  

	The Texas Rules of Appellate Procedure provide that an appeal must be dismissed
if the trial court's certification does not show that the defendant has the right of appeal. 
Tex. R. App. P. 25.2(d); see Tex. R. App. P. 37.1, 44.3, 44.4. Accordingly, this appeal is
DISMISSED. 


							PER CURIAM


Do not publish.  See Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered 

and filed this the 12th day of November, 2009. 





	


